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                                                No. 25-3727

                           IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
                              ______________________________________

              GAVIN NEWSOM, in his official capacity as Governor of the State of California,
                                   STATE OF CALIFORNIA,

                                                                             Plaintiffs-Appellees,

                DONALD J. TRUMP, in his official capacity as President of the United States,
                 PETE HEGSETH, in his official capacity as Secretary of the Department of
                             Defense, DEPARTMENT OF DEFENSE,

                                                                           Defendants-Appellants.
                                         _____________________

                              On Appeal from the United States District Court
                                   for the Northern District of California
                           Case No. 3:25-cv-04870-CRB | Hon. Charles R. Breyer
                                         _____________________

                     BRIEF OF AMICI CURIAE FORMER U.S. ARMY AND NAVY
                    SECRETARIES AND RETIRED FOUR-STAR ADMIRALS AND
                                          GENERALS
                                     _____________________

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                                         Four-Star Admirals and Generals
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                             IDENTITY AND INTEREST OF AMICI CURIAE 1

                    Amici are former secretaries of the U.S. Army and Navy and retired four-star

             admirals and generals. Collectively, they served under each president from John F.

             Kennedy to Barack H. Obama.

                    Amici are acutely interested in this case because deploying National Guard

             and active-duty military personnel in the context of domestic law enforcement

             should be a rare and carefully considered occurrence that strictly complies with the

             Posse Comitatus Act and its exceptions. Domestic deployments that fail to adhere to

             these long-established guardrails threaten the Guard’s and the active-duty military’s

             core national security and disaster relief missions; place deployed personnel in

             uncommon situations for which they lack appropriate training, thus posing safety

             concerns for personnel and the public alike; and risk inappropriately politicizing the

             military, leading to additional risks to recruitment, retention, morale, and cohesion

             of the force.

                    This submission is based on amici’s collective experience serving in and

             leading our military, their direct experience commanding active-duty service




             1
              As required by Federal Rule of Appellate Procedure 29(a)(4)(E), amici provide this
             statement: no counsel for a party authored this brief in whole or in part. No person
             other than amici or their counsel made a monetary contribution to this brief’s
             preparation or submission.
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             personnel, and their interest in preserving our military’s apolitical role in

             safeguarding national security.

                    Amici’s short biographies listed below capture a measure of their

             distinguished service to our country, as well as their expertise on matters

             encompassing the mission of the National Guard and armed services and the well-

             being of all those who serve in uniform.

                    Admiral Steve Abbot, United States Navy (Retired), graduated from the

             U.S. Naval Academy in 1966, after which he was deployed to Vietnam and began a

             34-year career with the U.S. Navy. His final active-duty tour was as Deputy

             Commander-in-Chief, U.S. European Command from 1998 to 2000. Following his

             retirement, Admiral Abbot served as Deputy Homeland Security Advisor to

             President George W. Bush from 2001 to 2003.

                    Admiral Thad Allen, United States Coast Guard (Retired), retired in 2010

             as the 23rd Commandant of the U.S. Coast Guard. Admiral Allen led the federal

             responses to Hurricanes Katrina and Rita and the Deepwater Horizon oil spill. He

             led Atlantic Coast Guard forces in response to the 9/11 attacks and coordinated the

             Coast Guard response to the Haitian Earthquake of 2010.

                    Former Secretary of the Army Louis Caldera graduated from the U.S.

             Military Academy at West Point and served in the Army on active duty from 1978

             to 1983. He served in two Senate-confirmed positions in the Clinton Administration,

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             including Secretary of the Army, and as an Assistant to the President and Director

             of the White House Military Office in the Obama Administration.

                    General Carlton W. Fulford, Jr., United States Marine Corps (Retired),

             received his commission in June 1966, following graduation from the U.S. Naval

             Academy. He served as a platoon and company commander in Vietnam. Over the

             next four decades, he served as Commanding Officer, Task Force Ripper during

             Operations Desert Shield and Desert Storm; Commanding General, First Marine

             Expeditionary Force; Commanding General, Third Marine Expeditionary Force;

             Commander, U.S. Marine Forces Pacific; and Director, The Joint Staff. General

             Fulford retired as the Deputy Commander-in-Chief, United States European

             Command in 2002.

                    General Michael Hayden, United States Air Force (Retired), entered

             active military service in 1969. During his career, he rose to the rank of four-star

             general and served as Director of the Central Intelligence Agency and the National

             Security Agency. General Hayden also served as Commander of the Air Intelligence

             Agency and held senior staff positions at the Pentagon, Headquarters U.S. European

             Command, and the National Security Council.

                    Admiral Samuel Jones Locklear, III, United States Navy (Retired),

             graduated from the U.S. Naval Academy in 1977. He served for 39 years and retired

             as commander of U.S. Pacific Command. His prior commands include Commander,

                                                      3
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             U.S. Naval Forces Europe, U.S. Naval Forces Africa, and Allied Joint Force

             Command Naples; Commander, U.S. 3rd Fleet; and Commander, Nimitz Strike

             Group.

                    Former Secretary of the Navy Sean O’Keefe began his public service career

             in 1978 at the Department of Defense and as U.S. Senate staff until his appointment

             as the Department of Defense Comptroller and Chief Finance Officer in 1989.

             President George H.W. Bush later named him the 69th Secretary of the Navy.

             Secretary O’Keefe also served in President George W. Bush’s Administration as

             Deputy Director of the Office of Management and Budget and the 10th

             Administrator of NASA.

                    Admiral Bill Owens, United States Navy (Retired), retired in 1996 as the

             Vice Chairman of the Joint Chiefs of Staff. He began his career as a nuclear

             submariner, spending a total of 4,000 days—or more than ten years—aboard

             submarines, including duty in Vietnam. Admiral Owens was a senior military

             assistant to two Secretaries of Defense and served as commander of the U.S. 6th

             Fleet during Operation Desert Storm.




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                            INTRODUCTION AND SUMMARY OF ARGUMENT

                    The United States military is not primarily a law enforcement organization

             and is prohibited by law from acting as a domestic police force unless doing so is

             “expressly authorized by the Constitution or Act of Congress.” 2 The Insurrection

             Act, which President Trump has notably not invoked in relation to the events that

             underlie this lawsuit, gives limited authority to the president to deploy federal troops

             to quell “any insurrection, domestic violence, unlawful combination, or conspiracy”

             against the United States government and to execute federal civil rights laws when

             they are obstructed. 3 That authority has been used sparingly throughout this

             country’s history, and rightfully so in a democracy governed by civilians elected by

             the American people.

                    Indeed, past deployments of federal troops for domestic law enforcement

             purposes have responded to extreme circumstances where state governors have

             openly defied federal authority or where state officials have sought federal

             assistance. Those circumstances include President Dwight D. Eisenhower’s




             2
               Posse Comitatus Act, 18 U.S.C. § 1385.
             3
               10 U.S.C. § 253. For background on the Insurrection Act, see generally Elizabeth
             Goitein, “The Insurrection Act” by Any Other Name: Unpacking Trump’s
             Memorandum Authorizing Domestic Deployment of the Military, JUST SECURITY
             (June 10, 2025), https://www.justsecurity.org/114282/memorandum-national-
             guard-los-angeles/ (last visited July 15, 2025).

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             federalization of National Guard troops to enforce the Supreme Court’s order in

             Brown v. Board of Education to desegregate schools; President Lyndon B. Johnson’s

             federalization of Guard troops to protect civil rights marchers in Selma, Alabama;

             and President George H.W. Bush’s federalization of Guard troops—upon California

             Governor Pete Wilson’s request—to quell the widespread Los Angeles riots in 1992.

                    Between June 7 and June 9, 2025, President Trump federalized, in total, 4,000

             California National Guard troops and deployed them, along with 700 active-duty

             Marines, to Los Angeles in response to civilian protests against actions by federal

             immigration enforcement agents. After the district court issued a temporary

             restraining order in favor of Plaintiffs, a panel for the Ninth Circuit granted a stay

             pending appeal. The panel’s June 25, 2025 Order concluded that it was likely the

             President lawfully exercised his statutory authority under 10 U.S.C. § 12406(3),

             which permits the President—whenever “unable with the regular forces to execute

             the laws of the United States”—to call the militia “in such numbers as he considers

             necessary to execute those laws.” At the same time, the panel expressly noted that

             “nothing in [its] decision addresses the nature of the activities in which the

             federalized National Guard may engage.” Order at 40. The panel also commented

             that any concerns with the continued presence of federalized National Guard

             members in Los Angeles “worsening, not improving tensions on the ground” and

             “impair[ing] the Guard’s ability to perform critical functions for the State” were

                                                       6
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             counterbalanced by reported federal property damage and federal employee injuries.

             Id. Finally, the panel noted that it did not know “whether future protests will grow

             due to the deployment of the National Guard” or “what emergencies may occur in

             California while the National Guard is deployed.” Order at 40-41.

                                                  *     *      *

                    The President has deployed the United States military without invoking the

             Insurrection Act, narrowly defining the troops’ mission, or ensuring they act only to

             execute those laws of the United States that the “regular forces” are unable to

             execute. The governor of California and mayor of Los Angeles have objected to this

             deployment, and the Los Angeles Police Department has expressly represented that

             it is capable of controlling the protests without federal intervention. Since the panel’s

             Order, the level of protest-related unrest in Los Angeles has decreased, even as

             highly-publicized immigration enforcement activities have continued. At the same

             time, California has entered fire season while the National Guard unit assigned to

             combatting wildfires is at just 40% of its regular staffing levels. 4 And while it was

             just recently announced that approximately 2,000 National Guard troops will be

             returned to California’s command, another 2,000 federalized Guard troops and 700



             4
              150 National Guard troops returned to California command; ‘Trump caved,’
             Newsom          says,       L.A.       TIMES        (June         30,      2025),
             https://www.latimes.com/california/story/2025-06-30/military-requests-200-
             national-guard-troops-return-to-ca-command (last visited July 15, 2025).
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             Marines remain activated in the area. 5 Deployment under these circumstances poses

             multiple risks to the core mission of the National Guard and the Marines, and to the

             well-being of the troops.

                      First, deploying military personnel in the context of domestic law

             enforcement diverts them from their primary mission, which is national security and

             disaster response, at the expense of local, state, and national safety. Second, National

             Guard personnel and active-duty Marines are not trained or qualified to conduct

             domestic law enforcement operations, which poses a danger to the safety of both the

             troops and the public. Third, the use of federal military personnel in the context of

             law enforcement operations should be a last resort to avoid the politicization of the

             military, which inevitably erodes public trust, impacts recruitment, and undermines

             troop morale.

                      Amici submit this brief to more fully explain these risks and assist the Court

             in determining whether this case should be reheard en banc.

                                                  ARGUMENT

                 I.   Deploying Military Personnel for Domestic Law Enforcement Diverts
                      Them from Their Primary Mission




             5
              Trump officials to send home half of the 4,000 National Guard troops in L.A., L.A.
             TIMES (July 15, 2025), https://www.latimes.com/california/story/2025-07-
             15/trump-admin-to-send-home-half-of-the-4-000-national-guard-troops-still-
             deployed-in-l-a (last visited July 15, 2025).
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                    Both the United States Marine Corps (“USMC”) and the National Guard play

             critical roles in protecting national security. USMC is “America’s expeditionary

             force in readiness,” prepared to respond rapidly to threats against the nation with

             “innovative and agile warfighting capabilities in all domains.” 6 As one of the six

             armed forces of the United States, USMC serves as the maritime land force

             component of the U.S. military and has approximately 167,000 active-duty

             members.7 Marines are primarily trained for overseas conflict zones and have fought

             in every major international U.S. conflict since their founding in 1775. 8 Domestic

             deployment of USMC is extremely rare and typically occurs under extraordinary

             circumstances, with the vast majority of USMC operations conducted overseas.

                    The National Guard, founded in 1636 as a citizen-soldier force, has a dual

             mission: (1) to serve as a reserve component of the active-duty military, and (2) to

             protect life and property within communities at home. 9 The Guard primarily




             6
               The Corps, U.S. MARINE CORPS, https://www.marines.mil/The-Corps (last visited
             June 11, 2025).
             7
               Active Duty Military Strength by Service, DEF. MANPOWER DATA CTR. (Apr. 30,
             2025), https://dwp.dmdc.osd.mil/dwp/app/dod-data-reports/workforce-reports
             (select “Strength Summary”) (last visited June 11, 2025).
             8
               Brief Histories, U.S. MARINE CORPS, https://www.usmcu.edu/Research/Marine-
             Corps-History-Division/Brief-Histories (last visited June 11, 2025).
             9
               About the Guard: How We Began, NAT’L GUARD,
             https://www.nationalguard.mil/About-the-Guard/How-We-Began (last visited June
             11, 2025); Our History, ARMY NAT’L GUARD, https://nationalguard.com/guard-
             history (last visited June 11, 2025).
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             provides domestic civil support, natural disaster relief, border security, election

             support, and other support as requested by governors and/or the president, including

             law enforcement support in the event of civil unrest. However, the “civil unrest”

             response component has historically been narrowly limited, especially in situations

             calling for the performance of core law enforcement functions, which the Guard is

             neither trained nor primarily intended to execute. The Guard is unique within the

             U.S. military as a dual-status force with both state and federal responsibilities,

             allowing it to be activated under the authority of either state or federal leadership,

             pursuant to strict limitations set forth in federal law.

                    The California National Guard (which is part of the National Guard) is vital

             to the state’s disaster preparedness and emergency response. As one of the largest

             National Guard forces in the country—with more than 18,000 troops 10—it serves

             California’s population of 39 million people, providing essential support during

             crises. The California National Guard is routinely deployed for wildfire suppression,

             search and rescue, and emergency response during earthquakes, floods, and other

             natural disasters.




             10
               INFORMATIONAL HEARING – CHANGING LANDSCAPE OF VETERANS BENEFITS IN
             CALIFORNIA, CALIFORNIA STATE ASSEMBLY (March 25, 2025),
             https://amva.assembly.ca.gov/system/files/2025-03/background-march-25-hearing-
             on-veterans-benefits-final.pdf.
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                    California relies heavily on its Guard’s rapid response capabilities,

             particularly during wildfire season, which begins in June and brings the risk of fast-

             moving, large-scale fires. The diversion of California Guard personnel away from

             these critical state missions risks degrading the state’s emergency preparedness.

             Notably, the California Guard has spent months engaged in wildfire response and

             recovery operations resulting from the catastrophic January 2025 fires in the Los

             Angeles area. Indeed, wildfire season is again upon Southern California, starting

             with several fires that flared up across Riverside and San Bernadino counties at the

             end of June.11 The National Interagency Fire Center has predicted that that much of

             the state would likely see above-normal significant fire potential through at least

             September, given expected heat and a lack of rainfall, with a more immediate risk in

             Southern California.12 Upon recommendation by the U.S Northern Command, the

             Administration has released approximately 150 members of the National Guard so

             that they could return to regular duty fighting wildfires in California. 13



             11
                California fire season is off to a furious start, and experts say it’s just the
             beginning,             L.A.         TIMES         (June           30,         2025),
             https://www.latimes.com/california/story/2025-06-30/california-fire-season-off-to-
             hot-start (last visited July 15, 2025).
             12
                National Significant Wildland Fire Potential Outlook, National Interagency Fire
             Center            (July          1,       2025),         https://www.nifc.gov/nicc-
             files/predictive/outlooks/monthly_seasonal_outlook.pdf (last visited July 15, 2025).
             13
                Trump Pulls Back 150 Guard Troops From Federal Duties in California, N.Y.
             TIMES (July 1, 2025), https://www.nytimes.com/2025/07/01/us/california-national-
             guard-trump.html (last visited July 15, 2025); see also Task Force 51 releases 150
                                                       11
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              II.   National Guard Personnel and Active-Duty Marines Are Not Trained or
                    Qualified to Operate in the Context of Domestic Law Enforcement

                    The National Guard and USMC personnel currently deployed in and around

             Los Angeles likely have and, according to public reports, will receive limited

             instruction and training on how to handle civil disturbances. And any training that

             they do receive pales in comparison to the in-depth and ongoing education provided

             to domestic law enforcement officers. 14 Domestic law enforcement—particularly in

             emotionally charged situations and instances of civil unrest—is a specialized skill

             set for which law enforcement officers train extensively and continually. Personnel

             in the U.S. military, on the other hand, do not receive extensive training on how to

             operate safely and effectively in the context of domestic law enforcement. Our

             longstanding tradition of entrusting domestic law enforcement to local, state, and




             members of the California National Guard, U.S. NORTHERN COMMAND (July 1,
             2025), https://www.northcom.mil/Newsroom/Press-Releases/Article/4232021/task-
             force-51-releases-150-members-of-the-california-national-guard/ (last visited July
             15, 2025).
             14
                Troops in Los Angeles Can Detain but Not Arrest Individuals, Military Official
             Says, REUTERS (June 11, 2025, 12:35 PM EDT),
             https://www.reuters.com/world/us/troops-los-angeles-can-temporarily-detain-
             individuals-no-arrest-authorities-2025-06-11 (last visited June 11, 2025).
                                                     12
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             federal law enforcement personnel has, unlike other countries around the world,

             allowed the U.S. military to remain focused on its core mission.

                    The President’s authorization to federalize the National Guard and deploy the

             regular Armed Forces states that they will be used “to temporarily protect ICE and

             other United States Government personnel who are performing Federal functions,

             including the enforcement of Federal law, and to protect Federal property.” 15 The

             commanding officer of the National Guard deployment, U.S. Army Major General

             Scott Sherman, has stated, “These soldiers do not conduct law enforcement

             operations like arrests or search and seizure. They are strictly used for the protection

             of the federal personnel as they conduct their operations and to protect them to allow

             them to do their federal mission.” 16

                    In practice, the distinction between force protection and law enforcement

             operations is not always clear, as modern operational realities and unanticipated

             circumstances invite uncertainty and potential disagreement over the scope and




             15
                Memorandum from President Donald J. Trump to Attorney General Pam Bondi
             and Secretary of Homeland Security Kristi Noem, Security for the Protection of
             Department of Homeland Security Functions (June 7, 2025),
             https://www.whitehouse.gov/presidential-actions/2025/06/department-of-defense-
             security-for-the-protection-of-department-of-homeland-security-functions (last
             visited June 11, 2025).
             16
                TIMES RADIO, LIVE: U.S. Major General Scott Sherman Talks About
             Deployment of Marines to L.A., at 4:45 (June 11, 2025),
             https://www.youtube.com/watch?v=Vo1ep-vn8iY.
                                                     13
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             nature of appropriate and authorized conduct. These ambiguities risk miscalculations

             in the heat of the moment, especially among military personnel who have not

             received thorough training in de-escalation tactics and the intricacies of the

             constitutional protections afforded to civilians in the U.S. In the absence of clear,

             detailed guidance consistent with settled legal principles, these troops are placed in

             an operationally difficult position if ordered to act against their fellow Americans.

             Amici are concerned that service members deployed on these missions are not being

             set up for success, with potentially grave risk of irreparable harm.

             III.   Deploying Military Personnel for Assistance with Law Enforcement
                    Operations Should Be a Last Resort to Avoid Politicizing the Military

                    A bedrock principle of American democracy is that our military is apolitical.

             Accordingly, U.S. military personnel are not permitted to engage in political conduct

             while on duty or to use their military status to endorse political candidates or political

             causes.17 Critical to the military’s ability to carry out its core functions is retaining

             the public’s respect and maintaining cohesion and unity within its ranks—regardless

             of the political leanings of individual citizens or soldiers. Particular caution is

             therefore necessary if the U.S. military is to be deployed domestically in the context

             of a politically charged situation. This is especially so in situations that involve



             17
               U.S. DEP’T OF DEF., DIRECTIVE 1344.10, POLITICAL ACTIVITIES BY MEMBERS OF
             THE ARMED FORCES 3 (2008),
             https://www.fvap.gov/uploads/FVAP/Policies/doddirective134410.pdf.
                                                   14
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             political protests and citizens exercising their First Amendment rights, which

             members of the United States armed forces are sworn to uphold. 18 It is essential that

             such deployments be a last resort, especially in the context of policing protests and

             other constitutionally protected speech and activities.

                    For that reason, and as noted above, federal deployments on U.S. soil have

             been rare, serious, and legally clear. The last major deployment of federal troops

             domestically occurred during the 1992 Los Angeles riots, at the request of California

             Governor Pete Wilson and pursuant to the Insurrection Act. That deployment was

             prompted by widespread violence and looting of businesses, the burning of entire

             blocks of homes and businesses, and dozens of civilian fatalities. By contrast, recent

             public reporting from Los Angeles suggests that, notwithstanding troubling

             incidents of property damage and violence, the recent and ongoing situation appears

             to be different in kind. Prior to the introduction of federal troops and for the week

             thereafter, there were no reported deaths, protest activity appeared largely confined

             to several discrete areas, and the number of arrests had been limited and for mostly

             low-level offenses. 19




             18
                See 10 U.S.C. § 502 (Armed Forces enlistment oath stating “I will support and
             defend the Constitution of the United States against all enemies foreign and
             domestic” and “I will bear true faith and allegiance to the same.”).
             19
                Brian Melley, ASSOCIATED PRESS, LA Protests far different from ‘92 Rodney
             King riots (Jun. 10, 2025), https://apnews.com/article/rodney-king-riots-national-
                                                      15
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                    As also noted above, deployments over the objections of state officials have

             been even more rare and occurred in situations where state and local officials openly

             defied court orders or refused to protect citizens exercising their constitutional rights.

             Yet here, the Los Angeles Police Department and the state of California have not

             asked for outside assistance to control the protests and have suggested that the

             deployment of military troops would be more likely to escalate, rather than lessen,

             the public safety risk. Moreover, isolated reports of the deployed troops’ low morale

             have surfaced, including discomfort with being drawn into domestic policing

             operations outside their normal field of operations and concerns that the

             deployments are being viewed through a political lens by much of the public. 20

                    The risks of politicization under these circumstances are profound and not

             speculative, especially where the President has, in his official capacity, overtly pitted

             the military against his professed political opponents. President Trump has



             guard-los-angeles-69114889118a85f8f29c4d76c076a45f (last visited July 15,
             2025).
             20
                Andrew Gumbel, Troops and marines deeply troubled by LA deployment: “Morale
             is not great,” THE GUARDIAN (June 12, 2025), https://www.theguardian.com/us-
             news/2025/jun/12/los-angeles-national-guard-troops-marines-morale (last visited
             July 15, 2025); see also Veterans’ advocates warn of low morale amid L.A.
             deployment: “This is not what we signed up for,” L.A. TIMES (June 24, 2025),
             https://www.latimes.com/california/story/2025-06-24/veteran-advocates-low-
             morale-l-a-deployment (last visited July 15, 2025); Shawn Hubler, Trump’s
             National Guard Troops Are Questioning Their Mission in L.A., N.Y. TIMES (July 16,
             2025),               https://www.nytimes.com/2025/07/16/us/trump-national-guard-
             california.html (last visited July 16, 2025).
                                                       16
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             suggested the governor of California, to whom he refers by a derogatory name,

             should be arrested, calling his “primary crime” as “running for governor.” 21 In a

             recent speech before U.S. Army personnel at Fort Bragg, President Trump

             repeatedly referred to the Los Angeles protests and denounced the governor, while

             encouraging service personnel to cheer as if at a political rally. 22 Speaking about a

             military parade to be held in observance of the Army’s 250th birthday, President

             Trump said, “For those people that want to protest, they’re going to be met with very

             big force.” 23

                    While the President is entitled to criticize his opponents in political terms,

             involving the military in domestic political controversies risks harming the military’s

             ability to recruit and retain servicemembers and garner broad public support for its




             21
                Alexandra Hutzler, ‘Acts of a Dictator’: Newsom Lashes Out at Trump After
             Arrest      Threat,    ABC       NEWS      (June     9,     2025,      3:12   PM),
             https://abcnews.go.com/Politics/war-words-trump-newsom-la-protests-escalates-
             arrest/story?id=122662589 (last visited June 11, 2025).
             22
                Konstantin Toropin & Steve Benyon, Bragg Soldiers Who Cheered Trump’s
             Political Attacks While in Uniform Were Checked for Allegiance, Appearance,
             MILITARY.COM (June 11, 2025, 5:50 PM EDT), https://www.military.com/daily-
             news/2025/06/11/bragg-soldiers-who-cheered-trumps-political-attacks-while-
             uniform-were-checked-allegiance-appearance.html (reporting on the event and the
             aftermath, and noting “no fat soldiers” were allowed to attend and soldiers who
             disagree with the current administration were instructed not to attend).
             23
                Trump Warns Protests at Military Parade Will Be Met With Force, REUTERS
             (June 11, 2025), https://www.reuters.com/world/us/trump-warns-protests-army-
             parade-will-be-met-with-very-big-force-2025-06-10 (last visited June 11, 2025).
                                                        17
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             budgets and programs, therefore undermining its ability to achieve its core mission

             of protecting the nation. It is precisely for this reason that the military should be kept

             out of domestic law enforcement whenever possible.

                                                CONCLUSION

                    The active-duty military and National Guard serve a critical role in U.S.

             national security. Domestic deployments that fail to adhere to exacting legal

             requirements and long-established guardrails threaten their core national security

             and disaster relief missions, put the military at risk of politicization, and pose serious

             risks to both servicemembers and civilians. We appreciate the Court’s due

             consideration of these critical factors in determining whether this case should be

             reheard en banc.

              Dated: July 18, 2025                           Respectfully submitted,
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                                         CERTIFICATE OF SERVICE

                    I, Susan Har, hereby certify that on July 18, 2025, I electronically filed the

             foregoing Brief of Amici Curiae, Former U.S. Army and Navy Secretaries and

             Retired Four-Star Admirals and Generals, with the Clerk of the Court for the United

             States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system.

             A true and correct copy of this brief has been served via the Court’s CM/ECF system

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              Dated: July 18, 2025                      /s/ Susan Har
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